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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:
                                                               Chapter 11
         SOUTHEASTERN METAL
         PRODUCTS LLC, et al.1,
                                                               Case No. 19-10989 (BLS)
                           Reorganized Debtors.                Jointly Administered

In re:
                                                               Chapter 11
         SEMP TEXAS, LLC,
                                                               Case No. 19-10990 (BLS)
                           Debtor.



      FINAL DECREE AND ORDER PURSUANT TO 11 U.S.C. §§ 105 AND 350, FED.
           R. BANKR. P. 3022, AND LOCAL RULE 3022-1 CLOSING CASES

     Upon consideration of the motion (the “Motion”) of the plan administrator in the above-

captioned chapter 11 cases (the “Plan Administrator”) for entry of a final decree, pursuant to

sections 105(a) and 350(a) of title 11 of the United States Code (the “Bankruptcy Code”),

Rule3022 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule

3022-1(a) of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), closing the Chapter 11 Cases

and terminating the claims and noticing services provided by Omni Management Group, Inc. in

connection with the Chapter 11 Cases; and this Court having reviewed the Motion; and this Court

finding good and sufficient cause for granting the relief as provided herein; and after proper notice

and opportunity to respond to the Motion; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

 1
      The Debtors/Reorganized Debtors and the last four digits of their respective federal tax identification numbers
      are: Southeastern Metal Products, LLC (9192) and SEMP Texas, LLC (3419).
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United States District Court for the District of Delaware, dated February 29, 2012, it is HEREBY

ORDERED THAT:

          1.   The Motion is GRANTED as set forth herein.

          2.   The chapter 11 cases of SOUTHEASTERN METAL PRODUCTS LLC (Case

No. 19-10989-BLS) and SEMP TEXAS LLC (Case No. 19-10990-BLS) (jointly administered at

Case No. 19-10989-BLS) are hereby CLOSED effective as of the date of the entry of this Final

Decree.

          3.   The entry of this Order is without prejudice to the rights of the U.S. Trustee, or

any other party to seek to reopen the Chapter 11 Cases for cause pursuant to section 350(b) of

the Bankruptcy Code. The Plan Administrator shall file and serve on the U.S. Trustee any

remaining quarterly reports and pay any quarterly fees due and owing pursuant to 28 U.S.C. §

1930(a)(6) in the Chapter 11 Cases within thirty (30) days of the entry of this Order. Entry of this

Order is without prejudice to the rights of the U.S. Trustee to reopen the Chapter 11 Cases to

seek appropriate relief in the event of an unresolved dispute over the payment of fees pursuant

to 28 U.S.C. § 1930(a)(6) or the post-confirmation reports.

          4.   The Clerk of the Court shall enter this Final Decree on the docket of the Chapter

11 Cases, and thereafter such docket shall be marked as “Closed.”

          5.   Subject to the performance of any obligations of Omni pursuant to this Final

Decree, Omni’s services as claims and noticing agent for the Chapter 11 Cases are hereby

terminated, and Omni shall be deemed formally discharged as claims and noticing agent for the

Chapter 11 Cases without further order of this Court.

          6.   Pursuant to Local Rule 2002-1(f)(ix), within twenty-eight (28) days of the entry

of this Final Decree and Order, Omni shall: (i) forward to the Clerk of the Court an electronic
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version of all imaged claims; (ii) upload the creditor mailing list into CM/ECF; and (iii)

docket a final claims register. Omni shall further box and transport all original claims to the

Philadelphia Federal Records Center, 14470 Townsend Road, Philadelphia, Pennsylvania 19154,

and docket a completed SF-135 Form indicating the accession and location numbers of the

archived claims.

         7.    This Court shall retain jurisdiction to hear and determine any matters or disputes

related to the Chapter 11 Cases, including without limitation any matters or disputes relating to

the effect of discharge and/or injunction provisions contained in the Plan and/or the

Confirmation Order.

         8.    Notwithstanding the possible applicability of Rules 6004(h), 7062, or 9014 of the

Bankruptcy Rules or otherwise, the terms and conditions of this Final Decree shall be

immediately effective and enforceable upon its entry.




 Dated: July 14th, 2022                        BRENDAN L. SHANNON
 Wilmington, Delaware                          UNITED STATES BANKRUPTCY JUDGE
